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                             SCHEDULE B

RALPH J. MARRA, JR.
Acting United States Attorney
By: Robert Frazer
Assistant United States Attorney
970 Broad Street, 7th Floor
Newark, New Jersey  07102
(973) 645-2700

                                                 UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,                            Hon. Stanley R. Chesler
                                                     Criminal No. 08-917 (SRC)
        V.
                                                     CONSENT JUDGMENT
Shawn Griggs                                         AND PRELIMINARY
                                                     ORDER OF FORFEITURE




        This matter having been opened to the Court by Ralph J.

Marra,       Jr.,    Acting United States Attorney for the District of New

Jersey,       (Assistant United States Attorney Robert Frazer,

appearing),          for the entry of a consent judgment and preliminary

order of forfeiture,          and defendant Shawn Griggs,           (John Azzarello,

Esq.,    appearing)       having consented to the request;           and the Court

having found that:

        WHEREAS,       in accordance with the Plea Agreement filed on or

about September 30,          2009 entered into between the United States

of America and defendant Shawn Griggs,                 in the above matter,         the

defendant,          pursuant to 18 U.S.C.    §   924(d) (1)   and 28 U.S.C.     §

2461(c),      has agreed to forfeit to the United States the following

property:
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     1)    .357 caliber semi-automatic pistol,         serial number

     F006354,    and six rounds of ammunition recovered with that

     gun; and

             WHEREAS, defendant,      Shawn Griggs,    has specifically

acknowledged notice of the criminal forfeiture,            consented to the

entry of a Consent Judgment and Preliminary Order of Forfeiture,

and waived his right to be present and heard on the timing and

form of this order pursuant to Federal Rules of Criminal

Procedure 32.2 (a)    and 43(a); and

     WHEREAS,    defendant,    Shawn Griggs, has agreed not to contest

the forfeiture of the above referenced property;

     WHEREAS, by virtue of the above,         the United States is now

entitled to possession of the Forfeited Property pursuant to 18

U.S.C.    § 924(d) (1),   28 U.S.C.   § 2461(c); and

     WHEREAS, defendant Shawn Griggs has waived and abandoned all

right,    title and interest in the Forfeited Firearms and

Ammunition; and defendant Shawn Grig’gs has further waived,

released and withdrawn any claim that defendant may have made

with respect to the Forfeited Firearm and Ammunition, and waived

and released any claim that defendant might otherwise have made

to that property in the future; and

     WHEREAS,    defendant Shawn Griggs having consented to the

destruction of the Forfeited Firearm and Ammunition; and for good

and sufficient cause shown;

     It is hereby ORDERED, ADJUDGED AND DECREED:
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       1.   That the Forfeited Property,     specifically:

       A)   .357 caliber semi-automatic pistol,     serial number

       F006354,   and six rounds of ammunition;

is to be held by any authorized agency of the United States in

its secure custody and control;

       2.   That pursuant to applicable law the United States

forthwith shall publish at least once for three successive weeks

in a newspaper of general circulation, notice of this Order,

notice of the United States’      intent to dispose of the Forfeited

Property in such manner as the Attorney General may direct and

notice that any person,     other than the defendant, having or

claiming a legal interest in the Forfeited Property must file a

petition with the court within thirty (30)         days of the final

publication of notice or of receipt of actual notice, whichever

is earlier;

       3.   That this notice:   (a)   shall state that the petition

shall be for a hearing to adjudicate the validity of the

petitioner’s alleged interest in the Forfeited Property;             (b)
shall be signed by the petitioner under penalty of perjury,                and

(c)   shall set forth the nature and extent of the petitioner’s

right or interest in the Forfeited Property and any additional

facts supporting the petitioner’s claim and the relief sought;

      4.    That the United States may also,     to the extent

practicable, provide direct written notice to any person known to

have alleged an interest in the Forfeited Property that is the
                          ____
                                             ___________




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subject of this Consent Judgment and Preliminary Order of

Forfeiture,        as a substitute for published notice as to those

persons so notified; and

           5.   That upon adjudication of all third-party interests,

this Court will enter a Final Order of Forfeiture authorizing the

United States to destroy the Forfeited Firearms and Ammunition.

           ORDERED this             aay of                rZQD9


                                   N1bRABLE STANLEY R. CHESLER
                                    United States District Judge

RALPH J. MARRA, JR.
ACTING UNITED STATES ATTORNEY

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By:’Robrt Frer                               Dated:
AssitantU,S. Attorney


Thhn Azzar Esq.
                                              / I
                                             Dated:
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ounsel fo’ he Defendant
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Shawn Griggs                              Dated:
Defendant
